        Case:15-10994-SDB Doc#:28 Filed:04/19/18 Entered:04/20/18 01:00:07                                            Page:1 of 3
                                               United States Bankruptcy Court
                                               Southern District of Georgia
In re:                                                                                                     Case No. 15-10994-SDB
Damecia R Means                                                                                            Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113J-1                  User: mweaver                      Page 1 of 1                          Date Rcvd: Apr 17, 2018
                                      Form ID: pdf004                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 19, 2018.
db             +Damecia R Means,   3006 Alene Court,   Augusta, GA 30906-4304

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 19, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 17, 2018 at the address(es) listed below:
              Angela McElroy-Magruder    on behalf of Debtor Damecia R Means mcelroymagruder@aol.com
              Huon Le    notices@chp13aug.org
                                                                                            TOTAL: 2
    Case:15-10994-SDB Doc#:28 Filed:04/19/18 Entered:04/20/18 01:00:07   Page:2 of 3



       IT IS ORDERED as set forth below:




       Date: April 17, 2018


___________________________________________________________________________
Case:15-10994-SDB Doc#:28 Filed:04/19/18 Entered:04/20/18 01:00:07   Page:3 of 3
